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                   FILED
                      UNDER

                     SEAL
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                                   UNITED STATES DISTRICT COURT
                                           District of Nevada



  UNITED STATES OF AMERICA,                 )                       Case No. 2:14-cr-00399-KJD-PAL-2
  Plaintiff,                                )
                                            )
        v.                                  )                       PETITION FOR ACTION
                                            )                       ON CONDITIONS OF
  ALAN RODRIGUES                            )                       PRETRIAL RELEASE
  Defendant                                 )



        Attached hereto and expressly incorporated herein is a is a Petition for Action on Conditions of Pretrial

  Release concerning the above-named defendant prepared by Erin Oliver            Pretrial Services Officer. I have

  reviewed that Petition and believe there is sufficient credible evidence which can be presented to the Court to

  prove the conduct alleged, and I concur in the recommended action requested of the Court.

      Dated this 25th day of    February, 2015 .


                                                                    DANIEL G. BOGDEN
                                                                    United States Attorney


                                                                    By    /S/
                                                                         DANIEL SCHIESS
                                                                         Assistant U. S. Attorney
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PS 8
(Revised 12/04)
                                  UNITED STATES DISTRICT COURT
                                              for the
                                       DISTRICT OF NEVADA

U.S.A. vs. ALAN RODRIGUES                                         Docket No. 2:14-cr-00399-KJD-PAL-2

                            Petition for Action on Conditions of Pretrial Release

        COMES NOW Erin Oliver                      UNITED STATES PRETRIAL SERVICES OFFICER,
presenting an official report upon the conduct of defendant     ALAN RODRIGUES         who was placed
under pretrial release supervision by the Honorable Nancy J. Koppe      in the Court at Las Vegas,
Nevada on December 30, 2014 on a Personal Recognizance Bond with the following conditions:
1. Pretrial Services supervision.
2. The defendant shall surrender any passport/passport card to U.S. Pretrial Services or the supervising officer.
3. The defendant shall not obtain a passport or passport card.
4. Travel is restricted to the continental U.S.
5. The defendant shall avoid all contact directly or indirectly with any person who is or may become a victim
or potential witness in the investigation or prosecution.
6. Defendant shall avoid all direct/indirect contact with co-defendant(s) unless in the presence of counsel.
7. The defendant shall not solicit monies from investors or customers.
8. Do not be employed in any setting involving telemarketing.
9. May not be employed by Travel Solutions.
10. May not be employed by Resorts Stay International pending further investigation by USAO.
11. Do not commit any offense in violation of federal, state, or local law.

Respectfully presenting petition for action of Court and for cause as follows:
On February 25, 2015, the defendant was contacted by Las Vegas Metropolitan Police Department while
boarding a shuttle service operating under the name of Las Vegas Shuttle Express, Inc. The shuttle was headed
for a final destination of San Ysidro, California, which is directly across the U.S./Mexico border from Tijuana,
Mexico. During contact with law enforcement, the defendant identified himself as Alejandro Lopez and
provided four identification documents in the same name. The shuttle ticket in the defendant's possession was
in the name of "Alejandro L." The defendant advised law enforcement that he was a dual citizen of Mexico
and the United States, and he was traveling to Tijuana for three days. In his possession was $5,000 cash.

PRAYING THAT THE COURT WILL ORDER A WARRANT BE ISSUED BASED UPON THE
ALLEGATIONS OUTLINED ABOVE. FURTHER, THAT A HEARING BE HELD TO SHOW
CAUSE WHY PRETRIAL RELEASE SHOULD NOT BE REVOKED.

 ORDER OF COURT                                        I declare under penalty of perjury that the
                                                       information herein is true and correct.
 Considered and ordered this _____
                                25th day of            Executed on this 25th day of February, 2015 .
 __________________
    February, 2015      and  ordered filed and
 made a part of the records in the above case.         Respectfully Submitted,


 _________________________________
 Honorable Peggy A. Leen                                Erin Oliver
 U.S. Magistrate Judge                                 United States Pretrial Services Officer

                                                       Place: Las Vegas, Nevada
